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United States District Court
UNITED STATES DISTRICT COURT wen isict of Texae
SOUTHERN DISTRICT OF TEXAS APR 132016 24
LAREDO DIVISION David J Md. Bre, Ca
Laredo Divisiog
UNITED STATES OF AMERICA §
§
v. § CRIMINAL NO. 5:16-CR-00138
§
GABRIEL AMAYA ORTEGA §
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Kenneth Magidson, United States
Attorney for the Southern District of Texas, and Jorge Vela, Assistant United States Attorney,
and the defendant, GABRIEL AMAYA ORTEGA (“Defendant”), and Defendant’s counsel,
pursuant to Rule 11(¢)(1)(A) and 11(c)(1)(B) of the Federal Rules of Criminal Procedure, state
that they have entered into an agreement, the terms and conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to plead euily ", Count 2 (aa Count 2 charges
HEE heTu m4e
Defendant with importation of coggisre,/in violation of T fy ,<B States Code, Section

963. Defendant, by entering this plea, agrees that he/she is waiving any right to have the facts
that the law makes essential to the punishment either charged in the indictment, or proved to a
jury or proven beyond a reasonable doubt.
Punishment Range
2. The statutory maximum penalty for each violation of Title 21, United States Code,
Section 963, is imprisonment of not more than (20) TWENTY years and a fine of not more than

($1,000,000.00) ONE MILLION DOLLARS. Additionally, Defendant may receive a term of
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supervised release after imprisonment of at least 3 years. See Title 18, United States Code,
sections 3559(a)(3) and 3583(b)(2). Defendant acknowledges and understands that if he/she
should violate the conditions of any period of supervised release which may be imposed as part
of his/her sentence, then Defendant may be imprisoned for the entire term of supervised release,
without credit for time already served on the term of supervised release prior to such violation.
See Title 18, United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant understands
that he/she cannot have the imposition or execution of the sentence suspended, nor is he/she
eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special
assessment in the amount of one hundred dollars ($100.00) per count of conviction. The
payment will be by cashier’s check or money order, payable to the Clerk of the United States
District Court, c/o District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention:
Finance.

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to
his/her immigration status if he/she is not a citizen of the United States. Defendant understands
that if he/she is not a citizen of the United States, by pleading guilty he/she may be removed
from the United States, denied citizenship, and denied admission to the United States in the
future. Defendant’s attorney has advised Defendant of the potential immigration consequences

resulting from Defendant’s plea of guilty.
 

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Cooperation

5. The parties understand this agreement carries the potential for a motion for departure
under Section 5K1.1 of the Sentencing Guidelines. Defendant understands and agrees that
whether such a motion is filed will be determined solely by the United States through the United
States Attorney for the Southern District of Texas. Should Defendant’s cooperation, in the sole
judgment and discretion of the United States, amount to “substantial assistance,” the United
States reserves the sole right to file a motion for departure pursuant to Section 5K1.1 of the
United States Sentencing Guidelines. Defendant further agrees to persist in that plea through
sentencing, fully cooperate with the United States, not oppose the forfeiture of assets
contemplated in paragraph 22-26 of this agreement. Defendant understands and agrees that the
United States will request that sentencing be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant,
including but not limited to possession or importation of controlled substances. Defendant
understands that such information includes both state and federal offenses arising therefrom, In
that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and Defendant; it does not bind any

other United States Attorney or any other unit of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his/her Fifth Amendment

privilege against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by the defendant to the

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Grand Jury or at any court proceeding (criminal or civil), or to a government

agent or attorney, can and will be prosecuted under the appropriate perjury, false

statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his/her

possession or under his/her control relating to all areas of inquiry and

investigation; and

(f) Should the recommended departure, if any, not meet Defendant's

expectations, the Defendant understands that he/she remains bound by the terms

of this agreement and cannot, for that reason alone, withdraw his/her plea.

Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, section 1291, and Title 18,
United States Code, section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, section 2255,
affords the right to contest or “collaterally attack” a conviction or sentence after the judgment of
conviction and sentence has become final. Defendant knowingly and voluntarily waives the
right to appeal or “collaterally attack” the conviction and sentence, except that Defendant does
not waive the right to raise a claim of ineffective assistance of counsel on direct appeal, if
otherwise permitted, or on collateral review in a motion under Title 28, United States Code,
section 2255. In the event Defendant files a notice of appeal following the imposition of the
sentence or later collaterally attacks his conviction or sentence, the United States will assert its
rights under this agreement and seek specific performance of these waivers.

8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he/she may have received from his/her counsel, the

United States or the Probation Office, is a prediction and not a promise, did not induce his/her

guilty plea, and is not binding on the United States, the Probation Office or the Court. The
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United States does not make any promise or representation concerning what sentence the
defendant will receive. Defendant further understands and agrees that the United States
Sentencing Guidelines are “effectively advisory” to the Court. See United States v. Booker, 543
U.S. 220 (2005). Accordingly, Defendant understands that, although the Court must consult the
Sentencing Guidelines and must take them into account when sentencing Defendant, the Court is
not bound to follow the Sentencing Guidelines nor sentence Defendant within the calculated
guideline range.

9. Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in this plea
agreement.

The United States’ Agreements

10. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Count 2 of the indictment and persists in that

plea through sentencing, and if the Court accepts this plea agreement, the United

States will move to dismiss any remaining counts of the indictment at the time of
sentencing;

(b) At the time of sentencing, the United States agrees not to oppose
Defendant’s anticipated request to the Court and the United States Probation
Office that he/she receive a two (2) level downward adjustment pursuant to
section 3E1.1(a) of the United States Sentencing Guidelines, should Defendant
accept responsibility as contemplated by the Sentencing Guidelines; and

(c) If Defendant qualifies for an adjustment under section 3E1.1(a) of the
United States Sentencing Guidelines, the United States agrees not to oppose
Defendant’s request for an additional one-level departure based on the timeliness
of the plea or the expeditious manner in which Defendant provided complete
information regarding his/her role in the offense (if Defendant's offense level is
16 or greater).

(d) The Government also recommends a two (2) level downward adjustment
for minor role pursuant to section 3B1.2(b) of the United States Sentencing
Guidelines.
 

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Agreement Binding - Southern District of Texas Only

11. The United States Attorney’s Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for offenses
arising from conduct charged in the indictment. This plea agreement binds only the United
States Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any
other United States Attorney’s Office. The United States Attorney’s Office for the Southern
District of Texas will bring this plea agreement and the full extent of Defendant’s cooperation to
the attention of other prosecuting offices, if requested.

United States’ Non-Waiver of Appeal

12. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.
Sentence Determination

13. Defendant is aware that the sentence will be imposed after consideration of the

United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as

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the provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and including
the statutory maximum set for the offense(s) to which Defendant pleads guilty, and that the
sentence to be imposed is within the sole discretion of the sentencing judge after the Court has
consulted the applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind the Court
and that the sentence imposed is within the discretion of the sentencing judge. If the Court
should impose any sentence up to the maximum established by statute, or should the Court order
any or all of the sentences imposed to run consecutively, Defendant cannot, for that reason alone,
withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea
agreement.
Rights at Trial

14. Defendant understands that by entering into this agreement, he/she surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant

would have the right to a speedy jury trial with the assistance of counsel. The

trial may be conducted by a judge sitting without a jury if Defendant, the United

States, and the court all agree.

(b) At a trial, the United States would be required to present witnesses and

other evidence against Defendant. Defendant would have the opportunity to

confront those witnesses and his/her attorney would be allowed to cross-examine

them. In turn, Defendant could, but would not be required to, present witnesses

and other evidence on his/her own behalf. If the witnesses for Defendant would

not appear voluntarily, he/she could require their attendance through the subpoena

power of the court; and

(c) At a trial, Defendant could rely on a privilege against self-incrimination
and decline to testify, and no inference of guilt could be drawn from such refusal
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to testify. However, if Defendant desired to do so, he/she could testify on his/her
own behalf.

Factual Basis for Guilty Plea

15. Defendant is pleading guilty because he/she is in fact guilty of the charges contained
in Count 2 of the indictment. If this case were to proceed to trial, the United States could prove
each element of the offense beyond a reasonable doubt. The following facts, among others
would be offered to establish Defendant’s guilt:
[See attached factual basis.]

Breach of Plea Agreement

16. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the
United States may move the Court to set aside the guilty plea and reinstate prosecution. Any
information and documents that have been disclosed by Defendant, whether prior to or
subsequent to this plea agreement, and all leads derived therefrom, will be used against
defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he/she will make a full and complete disclosure of all
assets over which he/she exercises direct or indirect control, or in which he/she has any financial

interest. Defendant agrees not to dispose of any assets or take any action that would affect a
 

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transfer of property in which he/she has an interest, unless Defendant obtains the prior written
permission of the United States.

18. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

19. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other
documents necessary to effectuate such transfer. Defendant also agrees to direct any banks
which have custody of his/her assets to deliver all funds and records of such assets to the United
States.

20. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

21. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant stipulates and agrees that as a result of his criminal conduct, the victim(s)
incurred a monetary loss of at least $ 0. Defendant understands and agrees that the Court will

determine the amount of restitution to fully compensate the victim(s). Defendant agrees that
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restitution imposed by the Court will be due and payable immediately and that Defendant will
not attempt to avoid or delay payment. Subject to the provisions of paragraph 7 above,
Defendant waives the right to challenge in any manner, including by direct appeal or in a
collateral proceeding, the restitution order imposed by the Court.
Forfeiture

22. Defendant stipulates and agrees that the property listed in the Indictment’s Notice of
Forfeiture (and in any supplemental Notices) is subject to forfeiture, and Defendant agrees to the
forfeiture of that property. In particular, but without limitation, Defendant stipulates that the
following specific property is subject to forfeiture: NONE

23. Defendant stipulates and agrees that the factual basis for his/her guilty plea supports
the forfeiture of at least $ 0 against him/her and in favor of the United States, and Defendant
agrees to the imposition of a personal money judgment for that amount against him/her and in
favor of the United States of America. Defendant stipulates and admits that one or more of the
conditions set forth in Title 21, United States Code, section 853(p), exists. Defendant agrees to
forfeit any of his/her property, or his/her interest in property, up to the value of any unpaid
portion of the money judgment, until the money judgment is fully satisfied.

24. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

25. Defendant consents to the order of forfeiture becoming final as to Defendant

immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure

32.2(b)(4)(A).

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26. Subject to the provisions of paragraph 7 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

27. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by
the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to
challenge the fine in any manner, including by direct appeal or in a collateral proceeding.

Complete Agreement

28. This written plea agreement, consisting of 15 pages, including the attached
addendum of Defendant and his/her attorney, constitutes the complete plea agreement between
the United States, Defendant, and Defendant’s counsel. No promises or representations have
been made by the United States except as set forth in writing in this plea agreement. Defendant
acknowledges that no threats have been made against him/her and that he/she is pleading guilty
freely and voluntarily because he/she is guilty.

29. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at lo (edd , Texas, on Q pris 3 , 2015.

GABRIEL AMAYA ORTEGA
Defendant
 

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Subscribed and sworn to before me on Q pe is) , 2015.
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DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

By:

 

Deputy Ong, rusia District Clerk
APPROVED:

Kenneth Magidson
United Stgtes Attorney

» yor Vela David Castillo
Assistant United States Attorney Attorney for Defendant
Southern District of Texas

Telephone: 956-723-6523
Email: jorge.vela@usdoj.gov

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